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                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF OKLAHOMA

                                                   :
SECURITIES AND EXCHANGE                            :
COMMISSION,                                        :
                                                   :
                               Plaintiff,          :    Civil Action No. 5:09-cv-639-L
                        vs.                        :
                                                   :
JERRY D. CASH and                                  :
DAVID E. GROSE,                                    :
                                                   :
                               Defendants.         :
                                                   :


              AGREED FINAL JUDGMENT AS TO JERRY D. CASH

       Plaintiff Securities and Exchange Commission, having filed a Complaint against

Jerry D. Cash (“Defendant”) and Defendant having waived service of process and

entered a general appearance; consented to the Court’s jurisdiction over Defendant and

the subject matter of this action; consented to entry of this Agreed Final Judgment as to

Jerry D. Cash (“Final Judgment”) without admitting or denying the allegations of the

Complaint (except as to jurisdiction); waived findings of fact and conclusions of law;

IT IS HEREBY ORDERED:

                                              I.

       Defendant, his agents, servants, employees, attorneys, and all other persons in

active concert or participation with him, who receive actual notice of this Final

Judgment, by personal service or otherwise, and each of them, be and hereby are

restrained and enjoined from violating Section 17(a) of the Securities Act [15 U.S.C.

§77q(a)], directly or indirectly, in the offer or sale of a security, by making use of any

means or instruments of transportation or communication in interstate commerce or by

use of the mails:
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       (a)     to employ any device, scheme or artifice to defraud;

       (b)     to obtain money or property by means of any untrue statement of a

               material fact or any omission to state a material fact necessary in order to

               make the statements made, in the light of the circumstances under which

               they were made, not misleading; and/or

       (c)     to engage in any transaction, practice or course of business which operates

               or would operate as a fraud or deceit upon any purchaser.

                                             II.

       Defendant, his agents, servants, employees, attorneys, and all other persons in

active concert or participation with him, who receive actual notice of this Final

Judgment, by personal service or otherwise, and each of them, be and hereby are

restrained and enjoined from violating Section 10(b) of the Exchange Act and Rule 10b-5

[15 U.S.C. §78j(b) and 17 C.F. R. §240.10b-5], directly or indirectly, in connection with the

purchase or sale of a security, by making use of any means or instrumentality of interstate

commerce, of the mails or of any facility of any national securities exchange:

       (a)     to use or employ any manipulative or deceptive device or contrivance;

       (b)     to employ any device, scheme or artifice to defraud;

       (c)     to make any untrue statement of a material fact or omit to state a material

               fact necessary in order to make the statements made, in the light of the

               circumstances under which they were made, not misleading; and/or

       (d)     to engage in any act, practice or course of business which operates or would

               operate as a fraud or deceit upon any person.




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                                             III.

       Defendant, his agents, servants, employees, attorneys, and all persons in active

concert or participation with him who receive actual notice of this Final Judgment by

personal service or otherwise, and each of them, are permanently restrained and enjoined

from violating Section 14(a) of the Exchange Act [15 U.S.C. § 78n(a)] and Rule 14a-9

[17 C.F.R. §§ 240.14a-9] by using the mails or any means or instrumentality of interstate

commerce or of any facility of a national securities exchange or otherwise, in

contravention of such rules and regulations as the Commission may prescribe as

necessary or appropriate for the public interest or for the protection of investors to solicit

by means of any proxy statement, form of proxy, notice of meeting or other

communication, written or oral, containing any statement which, at the time and in light

of the circumstances in which it is made, is false or misleading with respect to any

material fact, or which omits to state any material fact necessary in order to make the

statements therein not false or misleading or necessary to correct any statement in any

earlier communication with respect to the solicitation of a proxy for the same meeting or

subject matter which has become false or misleading.

                                             IV.

       Defendant, his agents, servants, employees, attorneys, and all persons in active

concert or participation with him who receive actual notice of this Final Judgment by

personal service or otherwise, and each of them, are permanently restrained and enjoined

from violating, directly or indirectly, Section 13(b)(5) of the Securities Exchange Act of

1934 (the "Exchange Act") [15 U.S.C. § 78m(b)(5)] and Rule 13b2-1 promulgated

thereunder [17 C.F.R. §§ 240.13b2-1], by knowingly circumventing or knowingly failing


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to implement a system of internal accounting controls or knowingly falsifying any book,

record, or account described in Section 13(b)(2) of the Exchange Act; or falsifying or

causing to be falsified, any book, record or account subject to section 13(b)(2)(A) of the

Exchange Act.

                                               V.

        Defendant, his agents, servants, employees, attorneys, and all persons in active

concert or participation with him who receive actual notice of this Final Judgment by

personal service or otherwise, and each of them, are permanently restrained and enjoined

from violating Exchange Act Rule 13b2-2 [17 C.F.R. § 240.13b2-2], directly or

indirectly, by:

        (a)       making or causing to be made a materially false or misleading statement

                  to an accountant in connection with; or

        (b)       omitting to state, or causing another person to omit to state, any material

                  fact necessary in order to make the statements made, in light of the

                  circumstances under which such statements were made, not misleading, to

                  an accountant in connection with:

                  (1)    any audit, review or examination of the financial statements of an

                         issuer; or

                  (2)    the preparation or filing of any document or report required to be

                         filed with the Commission.



                                               VI.




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        Defendant, his agents, servants, employees, attorneys, and all persons in active

concert or participation with him who receive actual notice of this Final Judgment by

personal service or otherwise, and each of them, are permanently restrained and enjoined

from violating Exchange Act Rule 13a-14 [17 C.F.R. § 240.13a-14], directly or

indirectly, by:

        (a)       certifying a periodic report containing financial statements filed by an

                  issuer pursuant to Section 13(a) of the Exchange Act [15 U.S.C. § 78m(a)]

                  when he or she has failed to:

                  (1)    review the report;

                  (2)    ensure, to the best of his or her knowledge, that the report does not

                         contain any untrue statement of a material fact or omit to state a

                         material fact necessary to make the statements made, in light of the

                         circumstances under which such statements were made, not

                         misleading with respect to the period covered by the report;

                  (3)    ensure, to the best of his or her knowledge, that the financial

                         statements, and other financial information included in the report,

                         fairly present in all material respects the financial condition,

                         results of operations and cash flows of the issuer as of, and for, the

                         periods presented in the report;

                  (4)    ensure that he or she has established and maintained disclosure

                         controls and procedures, as defined in Exchange Act Rules 13a-

                         15(e) and 15d-15(e) [17 C.F.R. § 240.13a-15(e) and 17 C.F.R. §

                         240.15d-15(e)], for the issuer and have:


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                 (i)      designed such disclosure controls and procedures, or

                          caused such disclosure controls and procedures to be

                          designed under his or her supervision, to ensure that

                          material information relating to the issuer, including its

                          consolidated subsidiaries, is made known to him or her by

                          others within those entities, particularly during periods in

                          which the periodic report is being prepared;

                 (ii)     evaluated the effectiveness of the issuer’s disclosure

                          controls and procedures and presented in this report his or

                          her conclusions about the effectiveness of the disclosure

                          controls and procedures, as of the end of the period covered

                          by the report based on such evaluation; and

                 (iii)    disclosed in the report any change in the issuer’s internal

                          control over financial reporting that occurred during the

                          issuer’s most recent fiscal quarter (the issuer’s fourth

                          quarter in the case of an annual report) that has materially

                          affected, or is reasonably likely to materially affect, the

                          issuer’s internal control over financial reporting; and

           (5)   ensure that he or she has disclosed, based on his or her most recent

                 evaluation of internal control over financial reporting, to the

                 issuer’s board of directors (or persons performing the equivalent

                 functions):




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                       (i)    all significant deficiencies and material weaknesses in the

                              design or operation of internal control over financial

                              reporting which are reasonably likely to adversely affect

                              the issuer’s ability to record, process, summarize and report

                              financial information; and

                       (ii)   any fraud, whether or not material, that involves

                              management or other employees who have a significant

                              role in the issuer’s internal controls over financial

                              reporting; and

       (b)     having a certification of disclosure, as specified in Exchange Act Rule

               13a-14(a), (b) or (c) [17 C.F.R. § 240.13a-14(a), (b) or (c)], signed on his

               behalf pursuant to a power of attorney or other form of confirming

               authority.

                                           VII.

       Defendant, his agents, servants, employees, attorneys, and all persons in active

concert or participation with him who receive actual notice of this Final Judgment by

personal service or otherwise, and each of them, are permanently restrained and enjoined

from aiding and abetting any violation of Section 13(a) of the Exchange Act [15 U.S.C. §

78m(a)] and Rules 12b-20, 13a-1 and 13a-13 [17 C.F.R. §§ 240.12b-20, 240.13a-1, and

240.13a-13] by knowingly providing substantial assistance to an issuer in its failure to:

       (a)     file with the Commission

               (1)     such information and documents as the Commission shall require

                       to keep reasonably current the information and documents required


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                        to be included in or filed with an application or registration

                        statement filed pursuant to Section 12 of the Exchange Act; and

                (2)     such annual reports, certified if required by the rules and

                        regulations of the Commission by independent public accountants,

                        and such quarterly reports, as the Commission may prescribe;

        (b)     add such further material information, if any, as may be necessary to make

                required statements, in the light of the circumstances under which they

                were made, not misleading, to that information expressly required to be

                included in a statement or report;

        (c)     file in a timely fashion annual reports, as required by Rule 13a-1 [17

                C.F.R. §240.13a-1]; and

        (d)     file in a timely fashion quarterly reports, as required by Rule 13a-13 [17

                C.F.R. §240.13a-13].

                                             VIII.

        Defendant, his agents, servants, employees, attorneys, and all persons in active

concert or participation with him who receive actual notice of this Final Judgment by

personal service or otherwise, and each of them, are permanently restrained and enjoined

from aiding and abetting any violation of Sections 13(b)(2)(A) and 13(b)(2)(B) of the

Exchange Act [15 U.S.C. §§ 78m(b)(2)(A) and (B)] by knowingly providing substantial

assistance to an issuer in its failure to:

        (a)     make and keep books, records and accounts which, in reasonable detail,

                accurately and fairly reflect the transactions and dispositions of the assets

                of the issuer; and


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       (b)     devise and maintain a system of internal accounting controls sufficient to

               provide reasonable assurances that:

               (1)     transactions are recorded as necessary to permit the preparation of

                       financial statements in accordance with GAAP;

               (2)     transactions are recorded as necessary:

                       (i)     to permit preparation of financial statements in conformity

                               with generally accepted accounting principles or any other

                               criteria applicable to such statements; and

                       (ii)    to maintain accountability for assets;

               (3)     access to assets is permitted only in accordance with

                       management’s general or specific authorization; and

               (4)     the recorded accountability for assets is compared with the existing

                       assets at reasonable intervals and appropriate action is taken with

                       respect to any differences.

                                             IX.

       Defendant, his agents, servants, employees, attorneys, and all persons in active

concert or participation with him who receive actual notice of this Final Judgment by

personal service or otherwise, and each of them, are permanently restrained and enjoined

from aiding and abetting any violation of Section 13(k) of the Exchange Act [15 U.S.C. §

78m(k)], by knowingly providing substantial assistance to an issuer to directly or

indirectly, including through any subsidiary, to extend or maintain credit, to arrange for

the extension of credit, or to renew an extension of credit, in the form of a personal loan

to or for any director or executive officer (or equivalent thereof) of that issuer.


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                                              X.



       Pursuant to Section 21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and

Section 20(e) of the Securities Act [15 U.S.C. § 77t(e)]], Defendant is prohibited from

acting as an officer or director of any issuer that has a class of securities registered

pursuant to Section 12 of the Exchange Act [15 U.S.C. § 78l] or that is required to file

reports pursuant to Section 15(d) of the Exchange Act [15 U.S.C. § 78o(d)].

                                              XI.

       Defendant is liable for the payment of $10 million in disgorgement, plus

$1,333.359.38 in prejudgment interest, for a total of $11,333,359.38, but based on the

judgment and orders entered in United States v. Jerry Dale Cash, Case No. 5:09-cr-241-F

(W.D. Okla.), wherein that Court sentenced Defendant to 9 years’ imprisonment, and

ordered him to pay restitution, the Commission deems satisfied its monetary claims

against Defendant, including payment of disgorgement and pre-judgment interest, and

the imposition of a civil penalty.

       Therefore, IT IS ORDERED that the Commission’s monetary claims against

Defendant for disgorgement, prejudgment interest, and civil penalties are DISMISSED.

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                                             XII.




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       The Consent of the Defendant is incorporated herein with the same force and

effect as if fully set forth herein, and that Defendant shall comply with all of the

undertakings and agreements set forth therein.



Dated: December 12, 2011.




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APPROVED AS TO FORM:



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